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United States Courts
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IN THE UNITED STATES DISTRICT COURT MAR 0 9 2009
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION Micheal M. Milby, Otaris
Ann W. Humphrey, individually and
on behalf of all others similarly situated,
Plaintiff
V. Case No. H 0 5 ~ " 5 8

Hon.
United Way of the Texas Gulf Coast,
a Texas non-profit corporation, and
United Way of the Texas Gulf Coast
Cash Balance Plan,

Defendants.

PLAINTIFF ANN W. HUMPHREY’S COMPLAINT

Now comes plaintiff Ann W. Humphrey (“Humphrey”), by and through her attorneys Hertz,
Schram & Saretsky, P.C. (““HS&S”), who brings this Complaint on behalf of herself and all others
similarly situated against United Way of the Texas Gulf Coast (“SUNT”) and United Way of the
Texas Gulf Coast Cash Balance Plan (“Plan”) (collectively, “Defendants’”).' In support of her
Complaint, Humphrey states the following:

Jurisdiction and Venue

l. This Court has jurisdiction over the parties pursuant to 29 U.S.C. §§1132(a), (e) and
(f).
2. Subject matter jurisdiction exists pursuant to 29 U.S.C. §1132(e)(1).

3, Venue is proper pursuant to 29 U.S.C. §1132(e)(2).

' Except as otherwise defined herein, all capitalized terms shall have the meaning ascribed
to them in the Plan.
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Parties and Related Entities

4. The Plan is a “defined benefit” pension plan governed by the Employee Retirement
Income Security Act (“ERISA”), 29 U.S.C. §1001 et seq., and is administered in Houston, Texas.
Legal process for the Plan may be served on--

Smith Barney Corporate Trust Co.

824 Market Street, Suite 210

Wilmington, DE 19801
or on--

Debra Garner King, Vice President, Finance and Administration

United Way Benefits Administration

c/o United Way of the Texas Gulf Coast

2200 North Loop West

Houston, TX 77018
or on--

Committee for United Way of the Texas Gulf Coast Cash Balance Plan

c/o United Way of the Texas Gulf Coast

2200 North Loop West

Houston, Texas 77018

5. UNT is the principal sponsor of the Plan and is its Plan Administrator (“PA”). Legal
process on UNT may be served on its registered agent, Jacqueline S. Martin, 50 Waugh Drive,
Houston, TX 77007.

6. The Center for the Retarded, Inc. (“CRI”) is one of several Participating Agencies
that co-sponsor the Plan.

7. The Plan was formerly known as the United Way of the Texas Gulf Coast Pension
Plan (“Prior Plan’).

8. Frederick B. Blackmer (“Blackmer”) was employed by CRI and was a Participant

in the Prior Plan and Plan for over thirty years.

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9. Humphrey is Blackmer’s sole designated beneficiary under the Plan.

General Allegations

10. In 1975, UNT established the Prior Plan, which was a “traditional” defined benefit
pension plan. Prior Plan, p. 1.

11. OnJanuary 1, 1996 (“the Effective Date”), the Prior Plan was converted to a “cash
balance” defined benefit plan (“96Plan”). 96 Plan, p. 1.

12. On February 5, 2002, the 96Plan was amended, but remained a cash balance plan
(“O2Plan’). 02Plan, last page.

13. Under a traditional defined benefit plan, the pension is computed as a percentage of
the participant’s pay multiplied by years of service.

14. By contrast, cash balance plans establish a “hypothetical” bookkeeping account for
each participant that is periodically credited with a percentage of the participant’s pay plus interest.
IRS Notice 96-8.

15. The account is said to be hypothetical because no account is actually established for
the participant, and no amount is deposited into any account for the participant. IRS Notice 96-8.
Rather, the account is purely bookkeeping in nature, as benefits are paid out of a common trust that
holds all of the plan’s assets for all of the plan’s participants, and the participant’s account balance
is simply a reference point for calculating the participant’s pension benefit. Id.

Nature of the Dispute

16. The 96Plan and 02Plan (collectively, “Plan” or “Plans”) provide an Early Retirement
Pension (“ERP”) for Participants who satisfy certain age and service requirements at the time they

separate from service.

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17. Blackmer met those requirements when he separated from CRI on August 6, 2003.

18. | Under the 96Plan, for ERP-eligible Participants who separate from service after the
Effective Date (1/1/96), the ERP must, in all events, equal at least the amount of the pension earned
under the Prior Plan as of December 31, 1995 plus the pension earned thereafter under the Plan, or,
at the Participant’s election, a lump sum that is the Actuarial Equivalent of the sum of these two
components. 96 Plan, §§6.5 and 6.8B.

19. On or about March 5, 2004, Blackmer’s Individual Retirement Account (“IRA”)
received his ERP from the Plan in the form of a lump sum. It equaled solely the Actuarial
Equivalent of the pension Blackmer had earned under the Prior Plan as of 12/31/95, instead of the
Actuarial Equivalent of the sum of that pension and the pension he earned under the Plan after that
date.

20. On October 11, 2004, Blackmer passed away.

21. Humphrey, Blackmer’s designated beneficiary under the Plan, seeks to recover for
herself and all other similarly situated participants or their beneficiaries the pension earned after
12/31/95.

Allegations Regarding the Summary Plan Description for the Cash Balance Plan

22. Pursuant to ERISA §102, participants in an ERISA-governed pension plan must be
furnished a summary plan description (“SPD”) that describes the plan in a manner “calculated to be
understood by the average plan participant.” 29 U.S.C. §1022.

23. Shortly after the Prior Plan was converted to a cash balance plan, UNT issued an SPD
that explicitly refers to the Plan as the “Cash Balance Plan” (Ex. 4, passim) and contains several

provisions dealing with the description and payment of “BENEFITS.” SPD, {5 and 6.

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24. Pertinent to this dispute, the SPD states that a Prior Plan Participant’s “beginning
account balance” under the Cash Balance Plan equals the present value of the Participant’s accrued
benefit as of 12/31/95 “determined under the terms of the [Prior] Pension Plan.” SPD, §SC.
25. The SPD explains that the beginning account balance “reflects” the pension earned
under the Prior Plan, and that the Cash Balance Plan “adds” to this beginning amount “contribution
credits” and “interest credits”:
Under the Cash Balance Plan, an account balance will be recorded for
you which will reflect the accrued benefit that you have earned. Each
year that you are employed by a participating agency a contribution
credit and an interest credit are added to your account.

SPD, 495A (emphasis in original).

26. | Asemphasized in the SPD, interest credits are earned on the Participant’s beginning
account balance, as well as on the contribution credits made on behalf of the Participant and,
therefore, the “retirement benefit” under the Cash Balance Plan includes all of these credits:

The interest credit . . . will be earned on your beginning account
balance . . . as well as on your new accrued benefits under the Cash
Balance Plan.

SPD, 95D (emphasis in original).

Your retirement benefit at any time is equal to the sum of the
following four items:

(i) the value of your beginning account balance under the Cash
Balance Plan... .;

(ii) the contribution credits you have received under the Cash Balance
Plan;

(iii) the interest credits you have received upon termination under the

Cash Balance Plan (on both your beginning account balance and your
contribution credits); and

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(iv) if you decide to defer receipt of your benefit after you terminate
employment, the interest credits you receive between the date you
terminate employment and the date that you elect to receive your
benefit.

SPD, 6A (emphasis added).

27. | AnExample inthe SPD further communicates that interest credits are earned on both
the contribution credits and beginning account balance. SPD, SE.

28. Consistent with the representations in the SPD, both the 96Plan and 02Plan (a)
provide a “Contribution Credit” equal to a specified percentage of the Participant’s annual
compensation, and (b) state that Participants accrue each month 1/12th of this amount. Plans, §§1.1
and 6.1.

29. The 96Plan and 02Plan further provide that the accrued benefit equals the sum of (a)
the Account Balance as of the end of the prior year, and (b) the 1/12th Contribution Credits thereto,
“automatically” increased at the end of each calendar month by 1/12th of the “Interest Credit” (a
specified annual rate). Plans, §§1.1 and 6.2.

30. Thus, Interest Credits are earned on not only the Contribution Credits, but on also the

Account Balance, including the opening Account Balance.

31. Contrary to the plain meaning of the SPD, 96Plan and 02Plan, UNT distributed to
Blackmer solely the value of the pension he had earned under the Prior Plan, attributing no value
whatsoever to the Contribution Credits or Interest Credits he earned under the Cash Balance Plan

and, thus, depriving him of his promised pension benefit.

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Allegations Regarding the Prior Plan

32. | Under ERISA, a participant’s accrued pension benefit is the annual benefit under the
plan commencing at normal retirement age (“NRA”), which ERISA generally defines as age 65.
29 ULS.C. §§1002(23) and (24).

33. | Under the Prior [traditional] Plan, a Participant who retired at NRA (age 65) was
entitled to a Normal Retirement Pension (““NRP”)--a five-year certain and life annuity computed as
a percentage of the Participant’s earnings multiplied by years of service. Prior Plan, §§4.3, 5.2 and
5.3.

34. Thus, the accrued pension benefit under the Prior Plan was a five-year certain and
life annuity commencing at age 65, and computed as a percentage of the Participant’s pay multiplied
by the Participant’s years of service.

35. The Prior Plan also provided an ERP for Participants who—

(a) terminated service at or after age 55 (but before age 65) with at least 5 years
of service, or
(b) terminated service at or after age 50 (but before age 55) with combined age
and years of service totaling at least 65.
Prior Plan, §4.3.

36. Like the NRP, the ERP was computed as a percentage of the Participant’s pay
multiplied by the Participant’s years of service, and was payable as a five-year certain and life
annuity. Prior Plan, §§4.3 and 5.3.

37. However, unlike the NRP, the ERP was electable before NRA. Prior Plan, §5.3.

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38. Moreover, if an ERP-eligible Participant elected to receive the ERP at or after age

55 (and had no earnings above the Social Security Wage Base), there was no actuarial reduction for

early commencement of benefits. Prior Plan, §5.3. Ifthe Participant had earnings above the Social

Security Wage Base, only the portion of the ERP attributable to such earnings was actuarially

reduced for commencement before NRA (assuming, again, commencement at or after age 55). Id.
39. Thus, the ERP under the Prior Plan was an especially valuable benefit.

Allegations Regarding the 96Plan

40. _ As stated in paragraph 11, the 96Plan resulted from a conversion of the Prior
[traditional] Plan to a cash balance plan.

41. Accordingly, the 96Plan established a bookkeeping account for each Participant,
referred to as the Account Balance, which was periodically credited with a percentage of the
Participant’s pay (the “Contribution Credit”) and interest (the “Interest Credit”). Plan, §1.1.

42. The opening Account Balance for Participants who were in the Prior Plan was
referred to as the Prior Plan Account and equaled the lump sum present value of the annuity the
Participant had accrued under the Prior Plan as of 12/31/95 (i.e., the five-year certain and life
annuity payable at NRA), as determined using the Plan’s actuarial assumptions (interest and
mortality) for determining the Actuarial Equivalent. Plan, §1.1.

43. Atany given time, a Participant’s Account Balance equals the Participant’s Prior Plan
Account (i.e., opening Account Balance), if any, plus all Contribution Credits and Interest Credits
made on behalf of the Participant or Former Participant (a Participant whose employment has

terminated, but who has not yet commenced receipt of his/her pension benefit). Plan, §1.1.

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44. The 96Plan provided an ERP for Participants who met the same eligibility
requirements for an ERP specified in the Prior Plan. Prior Plan, §4.3; and 96Plan, §5.3.

45. Pursuant to §6.5 of the 96Plan, for ERP-eligible Participants who separate from
service on or after the Effective Date (1/1/96), the ERP can never be less than the sum of (a) the
pension earned under the Prior [traditional] Plan as of 12/31/95, and (b) the pension earned under
the [cash balance] Plan (the “Section 6.5 Guarantee”):

Notwithstanding any provision of the Plan to the contrary, any
Participant who retires on or after the Effective Date shall be entitled
to an Early Retirement Pension equal to at least the Pension amount
derived from the formula in effect under the Prior Plan on December

31, 1995 for all years of Credited Service (as defined in the Prior
Plan) prior thereto plus the pension earned under this Plan.

96Plan, §6.5 (emphasis added).

46. The normal form of payment for the ERP (and every other pension payable under the
96Plan) was a five-year certain and life annuity. 96Plan, Article VI.

47. Participants could elect, however, to receive a lump sum that was the Actuarial
Equivalent of this normal annuity benefit, as determined on the basis of the Plan’s actuarial
assumptions (interest rate and mortality) for determining the Actuarial Equivalent. 96Plan, §6.8B

(lump sum option) and §1.1.

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Allegations Regarding the 2002 Amendments to the 96Plan

48. As noted in paragraph 12, the 02Plan was adopted February 5, 2002. However, it
purports to be retroactively “effective January 1, 2001.” 02Plan, last page.

49. The 02Plan amended two provisions of the 96Plan relating to the ERP: The Section
6.5 Guarantee and the §6.8B lump sum option.

50. Section 6.5 was amended to provide that the ERP is “the greater of” (a) the Actuarial
Equivalent of the participant’s Account Balance, and (b) the Prior Plan accrued benefit reduced for
early commencement in accordance with the provisions of the Prior Plan. 02Plan, §6.5.

51. Section §6.8B was amended to provide that any optional lump sum is “the greater of”
(a) the Participant’s Account Balance, and (b) the Actuarial Equivalent of the Participant’s Prior
Plan accrued benefit. 02Plan, §6.8 B (lump sum option).

52. Pursuant to §11.2 of the 96Plan and §11.2 of the 02Plan, a Plan amendment may not
“deprive, limit, lessen, or restrict any vested right or interest to which any Participant is already
entitled”:

11.2 Limitations on Right to Amend: No amendment of this Plan or
the Trust Agreement shall vest in the Employer any right, title, or
interest in or to the Trust Fund. No such amendment shall, without

his consent, deprive, limit, lessen, or restrict any vested right_or
interest to which any Participant is already entitled hereunder.

96Plan and 02Plan, §11.2 (emphasis supplied).
53. ERISA §204(g), commonly known as “the anti-cutback rule,” likewise prohibits plan

amendments that reduce or eliminate pension benefits that have already accrued. 29 U.S.C.

§1054(g).

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54. Therefore, to the extent the 02Plan amendments reduce or eliminate benefits that have
already accrued, those amendments are illegal and unenforceable.
55. Further, ERISA §204(h) provides that a defined benefit plan “may not be amended

so as to provide for a significant reduction in the rate of future benefit accrual, unless, after adoption

of the plan amendment and not less than 15 days before the effective date of the plan amendment,
the plan administrator provides a written notice, setting forth the plan amendment and its effective
date to each participant in the plan” (“the ERISA §204(h) Notice”). 29 U.S.C. §1054(h).
56. | UNT never issued an ERISA §204(h) Notice with respect to the 0O2Plan. See August
2004 correspondence between Cantarella and Debra King regarding the §204(h) Notice (Ex. 16).
57. Therefore, to the extent the 02Plan amendments to §§6.5 and 6.8B significantly
reduce the rate of future benefit accrual, they are not effective.

Allegations Regarding the Amount of Blackmer’s Lump Sum Distribution.

58. Blackmer was born on December 20, 1939.

59. On August 6, 2003, Blackmer separated from CRI.

60. Because he had attained the age of 63.7 years and had the requisite years of service
as of that date, Blackmer was ERP-eligible.

61. In January 2004, Blackmer elected to receive his ERP in the form of an immediate
lump sum to be rolled over directly into his IRA.

62. On or about March 5, 2004, Blackmer’s IRA received a lump sum rollover

distribution from the Plan in the amount of $40,700.25.

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63. | This amount represented solely the Actuarial Equivalent, as of February 1, 2004, of
the pension Blackmer had earned under the Prior Plan, which UNT correctly determined was a five-
year certain and life annuity in the amount of $302.82/month, commencing at NRA (age 65).

64. | UNT’s determination that Blackmer’s ERP equaled solely the Actuarial Equivalent
of his Prior Plan benefit ($40,700.25) violated the §11.2 anti-cutback provisions of the Plan and
ERISA §204(g) because it did not include the pension that Blackmer earned under the Plan and was
entitled to receive under the Section 6.5 Guarantee of the 96Plan.

65. | UNT’s determination that Blackmer’s ERP equaled solely the Actuarial Equivalent
of his Prior Plan benefit also violated ERISA §204(h) because (a) the failure to include in
Blackmer’s ERP the pension he earned under the Plan effectively reduced Blackmer’s rate of benefit
accrual after 1/1/96 to zero; and (b) UNT never issued an ERISA §204(h) Notice of “significant
reduction” in the rate of future benefit accrual with respect to the 02Plan, making the 02Plan
amendments to §§6.5 and 6.8B of the 96Plan unenforceable.

66. As stated in paragraphs 45 and 47, under §§6.5 and 6.8B of the 96Plan, for ERP-
eligible Participants who separate from service after 1/1/96, the ERP must in all events equal at least
the pension earned under the Prior Plan plus the pension earned under the Plan, or, at the
participant’s election, a lump sum that is the Actuarial Equivalent of this sum. 96Plan, §§6.5 and
6.8B.

67. As required under the 96Plan, UNT converted the pension Blackmer had accrued
under the Prior Plan as of 12/31/95 (i.e., the five-year certain and life annuity in the amount of
$302.82/month, commencing at age 65) into an actuarially equivalent present value using the Plan’s

actuarial assumptions (interest and mortality) for determining the Actuarial Equivalent.

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68. The resultant amount, $21,622.80, became Blackmer’s opening Account Balance (1.e,
Prior Plan Account).

69. From 1/1/96 (the date the Prior Plan was converted to a cash balance plan) to 2/1/04
(the last date to which Interest Credits or Contribution Credits accrued to Blackmer), Blackmer’s
Account Balance increased from $21,622.80 (his Opening Account Balance) to $38,024.61 (his
ending Account Balance).

70. This increase was attributable solely to the Contribution Credits and Interest Credits
that were added to Blackmer’s opening Account Balance.

71. Because Blackmer’s opening Account Balance (i.e., the Prior Plan Account) was the
Actuarial Equivalent of his Prior Plan accrued benefit (see paragraph 42 above), Blackmer’s opening
Account Balance was earned under the Prior Plan, not the Plan.

72. Accordingly, the pension Blackmer earned under the Plan was the difference between
his opening Account Balance on 1/1/96 ($21,622.80) and his ending Account Balance on 2/1/04
($38,024.61), or $16,401.81.

73. | When UNT computed the lump sum Actuarial Equivalent as of 2/1/04 of Blackmer’s
Prior Plan accrued benefit (i.e., the five-year certain and life annuity in the amount of $302.82/month
commencing at age 65), it used an Actuarial Equivalent factor of 134.404101 to produce a lump sum
in the amount of $40,700.25 (the amount UNT distributed to Blackmer’s IRA as a rollover
distribution of his ERP).

74. Humphrey has no quarrel with the factor UNT used to compute the Actuarial
Equivalent of Blackmer’s Prior Plan accrued benefit. She disputes only UNT’s failure to include

the pension Blackmer earned under the Plan in its Actuarial Equivalent calculation.

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75. Application of the 134.404101 Actuarial Equivalent factor to the pension Blackmer
earned under the Plan produces an Actuarially Equivalent five-year certain and life annuity in the
amount of $122.03/month. [Proof: $16,401.81 + 134.404101 = $122.03].

76. Because this annuity is the Actuarial Equivalent of the pension Blackmer earned
under the Plan, applying the same factor to this annuity necessarily produces a lump sum that equals
the $16,401.81 benefit Blackmer earned under the Plan. [Proof: $122.03 x 134.404101 =
$16,401.81).

77. Accordingly, for Blackmer, the ERP lump sum to which he was entitled under the
Section 6.5 Guarantee and §6.8B lump sum option of the 96 Plan equaled the sum of $40,700.25 (the
Actuarial Equivalent, as of 2/1/04, of the pension he accrued under the Prior Plan) and $16,401.81
(the Actuarial Equivalent, as of 2/1/04, of the pension he earned under the Plan), or $57,102.06.

78. This same amount can be confirmed by (a) aggregating the annuities Blackmer earned
under the Prior Plan and Plan, and (b) then multiplying by the factor UNT used to compute the
Actuarial Equivalent of the Prior Plan accrued benefit. [Proof: $302.82 + $122.03 = $424.85
aggregate annuity x 134.404101 factor = $57,101.58 (small difference due to rounding)].

79. Because §11.2 of the Plan and §204(g) of ERISA prohibit amendments that reduce
benefits that have already accrued, and because ERISA §204(h) prohibits plan amendments that
significantly reduce the rate of future benefit accrual unless an ERISA §204(h) Notice was issued
after the amendment was adopted and before the amendment was made effective, Blackmer should
have received the ERP to which he was entitled under the Section 6.5 Guarantee and §6.8 lump sum
option under the 96Plan ($57,102.06), not the ERP payable under the 02Plan amendments to $§6.5

and 6.8B of the 96Plan ($40,700.25).

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80. | Blackmer received only the ERP payable under the 02Plan amendments to §§6.5 and

6.8B of the 96Plan ($40,700.25), a shortfall of $16,401.81.
Exhaustion of Administrative Remedies

81. On June 10, 2001, Blackmer’s brother-in-law, George Beatty, Esq. (“Beatty”), sent
a letter to UNT on behalf of Blackmer (“the Claim”) which, among other things, advised that (a)
Blackmer intended to retire before his NRA (age 65), and (b) pursuant to §6.5 of the 96Plan, it was
expected that UNT would calculate Blackmer’s ERP as the sum of the pension earned under the
Prior Plan as of 12/31/95 ($302.82) and the pension earned under the Plan.

82. The Claim followed earlier communications between Beatty and UNT regarding the
amount of credited service UNT had used to compute Blackmer’s Prior Plan accrued benefit, which
service is not at issue in this lawsuit.

83. In a letter to Beatty dated September 12, 2001 (‘Initial Decision”), UNT agreed that
Blackmer’s ERP was the sum of the pension earned under the Prior Plan as of 12/31/95 and the
pension earned under the Plan:

We understand your primary question is how to correctly calculate
the amount of the benefit earned under the Plan from January 1, 1996
to Mr. Blackmer’s normal retirement date of January 1, 2005. As you
correctly point out in your letter, this benefit is added to the benefit
earned through December 31, 1995 under the old United Way of the
Texas Gulf Coast Pension Plan (which was in effect until December
31, 1995) to arrive at Mr. Blackmer’s total benefit at his normal

retirement date.

84. | However, in the Initial Decision, UNT incorrectly computed both of these pensions.

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85. Regarding the pension earned under the Prior Plan as of 12/31/95, UNT determined
that the five-year certain and life annuity equaled only $287.71/month, an amount that was facially
incorrect as UNT had previously calculated Blackmer’s Prior Plan pension to be a five-year certain
and life annuity in the amount of $302.82/month. In fact, UNT recently confirmed that this latter
number is the correct amount.

86. Regarding the pension earned under the Plan, UNT concluded that it would equal
approximately $38.55/month on 1/1/05 when Blackmer would be age 65.

87. UNT derived this annuity by (a) totaling Blackmer’s actual and estimated
Contribution Credits and Interest Credits to 1/1/05 when Blackmer would be age 65 except for
Interest Credits earned on Blackmer’s opening Account Balance, and then (b) dividing this sum by
a factor based on the Plan’s actuarial assumptions for determining the Actuarial Equivalent.

88. | UNT then added the $38.55 annuity to the facially erroneous $287.71 annuity and
concluded that the estimated annuity payable to Blackmer on 1/1/05 would be $326.26—only $23.44
more than the annuity Blackmer had earned solely under the Prior Plan as of 12/31/95 (i.e, nine
years before the 1/1/05 assumed retirement date).

89. The $38.55 annuity calculated by UNT was greatly understated because it was
derived from a sum that included only the Contribution Credit and Interest Credits thereon, when
it should have been derived from a sum that also included the Interest Credits on the opening
Account Balance.

90. As acknowledged by UNT in its Initial Decision on Blackmer’s claim, it did not

include Interest Credits on Blackmer’s opening Account Balance.

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91. On October 26, 2001, Beatty sent a letter to UNT (“the Appeal”), requesting a formal
review under §9.2 of the Plan of the claims he had made on behalf of Blackmer, and formally
requesting that UNT compute the pension earned under the Plan based on the increase in Blackmer’s
Account Balance after 1/1/96 (the date Blackmer’s opening Account Balance was established).
92. Insupport, Beatty quoted the Section 6.5 Guarantee under the 96Plan. He also cited
§6.2 of the Plan which provides that the accrued benefit is the sum of the Account Balance as of the
end of the prior year and the Contribution Credits and Interest Credits thereon. 96Plan and 02 Plan,
§6.2.
93. Beatty also quoted from or referred to (5A, 5D, SE and 6A of the SPD UNT issued
shortly after it converted the Prior Plan to a cash balance plan, which repeatedly states that Interest
Credits will be earned on the opening Account Balance. For example, (5D of the SPD states:
The interest credit . . . will be earned on your beginning account
balance .. . as well as on your new accrued benefits under the Cash
Balance Plan.

SPD, p.7 (emphasis in original).

94. On December 17, 2001, UNT sent a letter to Beatty (“the Final Decision’’) affirming
its earlier findings, including its conclusion that Interest Credits on Blackmer’s opening Account
Balance were not part of the pension accrued under the Plan, but were, instead, part of the pension
Blackmer accrued under the Prior [traditional] Plan.

95. | UNT subsequently sent Beatty another version of the Final Decision that changed

only a minor scrivener’s error.

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96. As stated in paragraphs 62 and 63, the ERP lump sum UNT distributed to Blackmer
($40,700.25) was the Actuarial Equivalent of solely the pension Blackmer had earned under the
Prior Plan as of 12/31/95 (i.e., the five-year certain and life annuity in the amount of $302.82/month,
commencing at age 65).

97. However, in both its Initial Decision and Final Decision on Blackmer’s Claim, UNT
agreed with Blackmer that his ERP equaled the pension earned under the Prior Plan plus the pension
earned under the Plan. UNT disagreed only as to the amount of each of these pensions and how they
should be computed.

98. | When UNT distributed Blackmer’s ERP lump sum, it corrected its computational

errors with respect to the pension earned under the Prior Plan, but compounded its errors with

respect to the pension earned under the Plan by effectively deeming that amount to be zero.

99. __ Based on the foregoing, Blackmer exhausted his administrative remedies under the
Plan, and any further effort to utilize the Plan’s administrative procedures would be futile.

100. As noted, on October 11, 2004, Blackmer passed away.

101. Humphrey, Blackmer’s beneficiary, seeks the shortfall due her and all other similarly
situated beneficiaries, Participants and Former Participants.

Class Action Allegations

102. Humphrey’s claims are brought on behalf of the following individuals (“the Class’):

All Participants or Former Participants in the Plan (and beneficiaries
of such Participants or Former Participants) who (1) as of 12/31/95,
had accrued a pension under the Prior Plan, (2) were or hereafter are
ERP-eligible at the time of separation from UNT or a Participating
Agency, and (3) either received an ERP or are eligible to receive an
ERP or hereafter become eligible to receive an ERP.

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103. The members of the Class are so numerous that joinder is impracticable. On
information and belief, the Class exceeds 300 members.

104. Humphrey’s claims are typical of those of the rest of the Class because (a) as to all
Class members, UNT calculated an ERP that was less than the amount to which they were entitled
under §§6.5 and 6.8B of the 96Plan, and (b) in light of the 02Plan amendments to §§6.5 and 6.8B
of the 96Plan, which violate the Plan’s and ERISA’s anti-cutback provisions and also violate ERISA
§204(h), UNT has evinced an intent to do so with respect to ERP benefits payable in the future.

105. There exist questions of law common to all members of the Class that predominate
over any questions affecting individual members. Those questions include, without limitation, the
following:

A. Whether the ERP payable to Class members must be no less than the ERP payable
under §§6.5 and/or 6.8B of the 96Plan; and

B. Whether the pension earned under the Plan includes Interest Credits on the opening
Account Balance.

106. Humphrey will fairly and adequately represent the interests of the other members of
the Class as her interests are coincident with, and not antagonistic to, those of the other members
of the Class.

107. In addition, the attorneys for the proposed Class are experienced in class action
litigation and matters arising under ERISA.

108. A class action is superior to other available litigation methods for the fair and
efficient adjudication of this controversy, as joinder of all members of the Class is impracticable.
Furthermore, members of the Class injured by Defendants' conduct would not be compensated for

their injuries in the absence of a class action as it is too expensive for an individual member to

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prosecute the claims on solely his or her own behalf. Even if individual members of the Class could
afford to prosecute the claims alone, the Court would be inundated with myriad lawsuits involving
identical issues. Individual litigation magnifies the delay and expense to all parties and to the court
system of resolving the controversies engendered by Defendants' actions. By contrast, a class action
presents fewer management difficulties and provides the benefits of unitary adjudication, economies
of scale and comprehensive supervision by a single court. Lastly, the management of this class
action will not be difficult since little contact with individual members will be necessary.
Defendants’ conduct, and not that of the members of the Class, represents the primary issue in this
litigation.

Count I-Action for Benefits Due Under the Plan

109. Humphrey realleges and incorporates by reference the preceding paragraphs of this
Complaint as though fully restated herein.

110. Humphrey seeks benefits due under the Plan, as permitted under ERISA
§502(a)(1)(B), 29 U.S.C. §1132(a)(1)(B).

111. Under the 96Plan, the ERP payable to an ERP-eligible participant who separates from
service after 1/1/96 must at least equal the pension earned under the Prior Plan plus the pension
earned under the Plan, or, at the participant’s election, a lump sum that is the Actuarial Equivalent
of this sum. 96Plan, §§6.5 and 6.8B.

112. The pension earned under the Plan is an annuity that is the Actuarial Equivalent of
the difference between the Participant’s opening Account Balance and ending Account Balance
(which difference equals the sum of all Contribution Credits and Interest Credits made to the

Participant’s Account Balance), or the lump sum Actuarial Equivalent of this annuity.

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113. Section 11.2 of the Plan provides that no Plan amendment shall “deprive, limit,
lessen, or restrict any vested right or interest to which any Participant is already entitled hereunder.”
96Plan and 02Plan, §11.2.

114. ERISA’s anti-cutback rule likewise prohibits plan amendments that reduce or
eliminate benefits that have already accrued. 29 U.S.C. §1054(g).

115. Further, ERISA §204(h) prohibits plan amendments that significantly reduce the rate

of future benefit accrual unless a notice of such reduction was issued to participants after the

amendment was adopted and before it became effective,

116. Because UNT never issued an ERISA §204(h) Notice with respect to the 02Plan, the
02Plan amendments to §§6.5 and 6.8B of the 96Plan, which significantly reduced the rate of future
benefit accrual, are not enforceable.

117. Blackmer was ERP-eligible when he separated from CRI on August, 6, 2003.

118. Blackmer elected to receive his ERP in the form of a lump sum.

119. Blackmer received a lump sum that was the Actuarial Equivalent of solely the
pension he earned under the Prior Plan as of 12/31/95, or $40,700.25.

120. Blackmer’s ERP lump sum should also have included the Actuarial Equivalent of the
pension he earned under the Plan as of 2/1/04 (the last date to which his Account Balance accrued
Contribution Credits or Interest Credits), or $16,401.81.

121. Accordingly, Blackmer’s ERP lump sum should have equaled $57,102.06

($40,700.25 + $16,401.81).

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122.

WHEREFORE, Humphrey (Blackmer’s beneficiary under the Plan) requests that this

Court order Defendants to—

A.

Recompute the ERP paid or payable to each Class member as (I) the pension earned
under the Prior Plan plus the pension earned under the Plan, or (11), in the case of a
lump sum distribution, the Actuarial Equivalent of this sum;

Pay to each Class member who has already received an ERP (or to the beneficiary
of such Class member), the difference between that ERP and the ERP computed
under subparagraph A, plus prejudgement interest commencing on the date of the
prior ERP payment(s), as permitted under ERISA §§502(a)(1)(B) and 502(a)(3), 29
U.S.C. §§1132(a)(1)(B) and 1132(a)(3);

Pay costs and attorneys’ fees incurred in prosecuting this action, as permitted under
ERISA §502(g), 29 U.S.C. §1132(g); and

Pay post-judgment interest, as required under 28 U.S.C. §1961.

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Count T-Action to Enforce the Terms of the Plan and ERISA §§204(g) and 204(h)

123. Humphrey realleges and incorporates by reference the preceding paragraphs of this
Complaint as though fully restated herein.

124. Humphrey seeks enforcement of §§6.5 and 6.8B of the 96Plan and §11.2 of the
96Plan and 02Plan, and any other equitable relief the Court deems appropriate, as permitted under
ERISA §502(a)(3), 29 U.S.C. §1132(a)(3).

125. Under the 96Plan, the ERP payable to an ERP-eligible participant who separates from
service after 1/1/96 must at least equal the pension earned under the Prior Plan plus the pension
earned under the Plan, or, at the participant’s election, a lump sum that is the Actuarial Equivalent
of this sum. 96Plan, §§6.5 and 6.8B.

126. The ERP UNT distributed to Blackmer equaled solely the Actuarial Equivalent of
the pension he accrued under the Prior Plan.

127. Section 11.2 of the Plan provides that no Plan amendment shall “deprive, limit,
lessen, or restrict any vested right or interest to which any Participant is already entitled hereunder.”
96Plan, §11.2; and 02Plan, §11.2.

128. ERISA’s anti-cutback rule likewise prohibits plan amendments that reduce or
eliminate benefits that have already accrued. 29 U.S.C. §1132(g).

129. Further, ERISA §204(h) prohibits plan amendments that significantly reduce the rate

of future benefit accrual unless a notice of such reduction was issued to participants after the

amendment was adopted and before it became effective.

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130. The02Plan amendments to §§6.5 and 6.8B of the 96Plan provide that the ERP equals
the greater of the Prior Plan accrued benefit and the accrued benefit under the Plan (or the Actuarial
Equivalent of one of these amounts).

131. The0O2Plan amendments to §§6.5 and 6.8B ofthe 96Plan reduce ERP benefits already
accrued as of the date the 02Plan amendments were adopted (2/1/04) because, prior to that date,
§§6.5 and 6.8B provided that the ERP equaled the sum of pension earned under the Prior Plan
benefit and the pension earned under the Plan (or the Actuarial Equivalent of the sum of these
amounts). Therefore, under the Plan’s and ERISA’s anti-cutback provisions, the 02Plan
amendments are unenforceable.

132. The0O2Plan amendments to §§6.5 and 6.8B also significantly reduce the rate of future
benefit accrual because, under those amendments, the ERP is the greater of the Prior Plan accrued
benefit and the accrued benefit under the Plan (or the Actuarial Equivalent of one of these amounts),
rather than the sum of these amounts.

133. UNT never issued an ERISA §204(h) Notice with respect to the 02Plan. Therefore,
the 02Plan amendments are unenforceable for the additional reason that they violate ERISA §204(h).

134. WHEREFORE, Humphrey requests that this Court order Defendants to—

A. Compute the ERP payable to each Class member as the pension earned under
the Prior Plan plus the pension earned under the Plan, or the Actuarial
Equivalent of this sum.

B. Pay the costs and attorneys’ fees incurred in prosecuting this action, as

permitted under ERISA §502(g), 29 U.S.C. §1132(g).

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Dated: March g, 2005

Dated: March q, 2005

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Respectfully submitted,

Coa T, Co-Bar,

Hertz, Schram & Saretsky, P.C.

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Case 4:05-cv-00758

@JS 44 (Rev 11/04)

by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use o:

Document 1

Filed on 03/09/05 in TXSD___— Page 26 of 26

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
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the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

e Clerk of Court for the purpose of initiating

I. (a) PLAINTIFFS

Ann W. Humphrey

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

H O05 -

Harris

DEFENDANTS

United Way of the Texas Gulf Coast, and United Way of the Texas
Gulf Coast Cash Balance Plan

County of Residence of First Listed Defendant Harris

(c)} Attorney’s (Firm Name, Address, and Telephone Number)

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(IN U.S, PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, setinited Seta;
LAND INVOLVED outhern District of Texas
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MAR 0 9 2005

Attomeys (If Known)

Hertz, Schram & Saretsky, P.C., 1760 S. Telegraph Rd., #300, unknown
Bloomfield Hills, MI 48302-0183; (248) 335-5000
If. BASIS OF JURISDICTION Place an“x” in One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIE 4 laintiff

(For Diversity Cases Only) and One Box for Defendant)

1 US Government 3 Federal Question PTF DEF PTF DEF
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of Business In This State
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Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a 03 © 3- Foreign Nation Os O86
Foreign Country _
IV. NATURE OF SUIT (Place an “X” in One Box Only) _
L CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES J
G 110 Insurance PERSONAL INJURY PERSONAL INJURY |) 610 Agnculture © 422 Appeal 28 USC 158 (1 400 State Reapportionment
O 120 Marine OC) 310 Anrplane 362 Personal Inyury - 0 620 Other Food & Drug 0 423 Withdrawal 0 410 Antitrust
7 130 Miller Act O01 315 Airplane Product Med. Malpractice (1) 625 Drug Related Seizure 28 USC 157 1 430 Banks and Banking
C7 140 Negotiable Instrument Liability (1 365 Personal Injury - of Property 2! USC 881 © 450 Commerce
© 150 Recovery of Overpayment |] 320 Assault, Libel & Product Liability 0 630 Liquor Laws PROPERTY RIGHTS CO 460 Deportation
& Enforcement of Judgment Slander (1 368 Asbestos Personal |[) 640 RR. & Truck OD 820 Copyrights () 470 Racketeer Influenced and
C1 151 Medicare Act © 330 Federal Employers’ Injury Product OD 650 Airline Regs. O 830 Patent Corrupt Organizations
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Student Loans © 340 Marine PERSONAL PROPERTY Safety/Health C1 490 Cable/Sat TV
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C1 160 Stockholders’ Suits 0 355 Motor Vehicle Property Damage Act C1 862 Black Lung (923) 1 875 Customer Challenge
C1 190 Other Contract Product Liability 0 385 Property Damage O 720 Labor/Mgmt Relations | 863 DIWC/DIWW (405(g)) 12 USC 3410
CJ 195 Contract Product Liability |() 360 Other Personal Product Liability ( 730 Labor/Mgmt.Reporting |) 864 SSID Title XVI C1 890 Other Statutory Actions
C1 _196 Franchise Injury ‘ & Disclosure Act C1 865 RSI (405(g)) O 891 Agncultural Acts
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C1 220 Foreclosure 0 442 Employment Sentence 791 Empl. Ret. Inc. or Defendant) C1 894 Energy Allocation Act
C1 230 Rent Lease & Ejectment 443 Housing/ Habeas Corpus: Security Act 871 IRS—Third Party C1 895 Freedom of Information
OC) 240 Torts to Land Accommodations 530 General 26 USC 7609 Act
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Other State Statutes
C440 Other Civil Rights
V. ORIGIN (Place an “X” in One Box Only) Transferred from Appeal to District
m1 Original 2 Removed from 3 Remanded from 4 Reinstated or Os another district O6 Multidistrict a7 Magistrate
Proceeding. State Court Appellate Court Reopened (specify) Litigation Judgment

VI. CAUSE OF ACTION

SUSU

n hich you are filing (Do not cite jurisdictional statutes unless diversity):
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Brief description of cause:
Failure to tollow the terms of the Plan in caiculating early retirement benefits

VII. REQUESTED IN

COMPLAINT:

CHECK IF THIS IS A CLASS ACTION

DEMAND $ sia jue HVE fe/RECHECK YES only if demanded in complaint:

Oves No

UNDERF.R.C.P.23 2 Vacuetary refek (est. HS urrlyou.) JURY DEMAND:
Jv

VIII. RELATED CASE(S)

{See instructions):

IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
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FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

